463 F.2d 375
    72-2 USTC  P 9536
    Friedy B. HEISLER, M.D. and Francis Heisler, Plaintiffs and Appellants,v.UNITED STATES of America and Joseph M. Cullen, DistrictDirector of Internal Revenue Service, etc., etal., Defendants and Appellees.
    No. 26121.
    United States Court of Appeals,
    Ninth Circuit.
    June 21, 1972.Rehearing Denied July 17, 1972.
    
      Francis Heisler (argued), Richard M. Silver, Patricia Lane, of Heisler &amp; Stewart, Carmel, Cal., for plaintiffs-appellant.
      Gary R. Allen (argued), Meyer Rothwacks, Thomas L. Stapleton, Johnnie Walters, Asst. Atty. Gen., Washington, D. C., James L. Browning, U. S. Atty., Gary K. Shelton, Asst. U. S. Atty., San Francisco, Cal., for defendants-appellees.
      Before CHAMBERS, BROWNING and KILKENNY, Circuit Judges.
      PER CURIAM:
    
    
      1
      In this tax case the district court had jurisdiction over the refund claim under 28 U.S.C. Sec. 1346(a) (1).  The appellants, however, do not fit within the statute.  Their bodies and skills are not among the "other natural deposits" for which the Internal Revenue Code allows a deduction for percentage depletion.
    
    
      2
      On the claim that 26 U.S.C. sections 611 et seq. are unconstitutional, the Heislers lack the requisite standing to raise this issue.  Flast v. Cohen, 392 U.S. 83, 88 S.Ct. 1942, 20 L.Ed.2d 947 (1968).
    
    
      3
      The appellants style their lawsuit a class action.  However, there is no showing that any other members of the purported class filed the requisite demands for refund. 26 U.S.C. Sec. 7422.
    
    
      4
      The judgment is affirmed.
    
    